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                                                                                    May 23, 2023
 VIA PACER
 Honorable James R. Cho
 United States District Magistrate Judge
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

                                   Re: Hough v. Maraj, et al. Case No. 1:21-cv-04568-ENV-JRC

 Dear Judge Cho,

        We are counsel to Plaintiff Jennifer Hough in the above-referenced matter. I write jointly
 with counsel for Defendant Kenneth Petty. As you know, the Court provided the parties with an
 opportunity to engage in private mediation. The parties participated in private mediation, but
 unfortunately, we were unable to reach a settlement. We would like to have a scheduling
 conference with the court to set a scheduling order.

                                                                         Respectfully Submitted,


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                                                      Tyrone A. Blackburn, Esq.

 CC: All attorneys of record via ECF.
